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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03010-APM
 v.
                                                   HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.



 State of Colorado, et al.,

                               Plaintiffs,

 v.

 Google LLC,

                               Defendant.




                         NOTICE OF WITHDRAWAL OF COUNSEL

       Kenneth M. Dintzer respectfully notifies the Court of his withdrawal as counsel for the

United States of America in United States v. Google, LLC, Case No. 1:20-cv-03010. Meagan K.

Bellshaw, David E. Dahlquist, and Adam T. Severt will continue to represent the United States

as counsel of record.




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Dated: May 28, 2024                Respectfully submitted,

                                          /s/ Karl E. Herrmann
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